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                                 EXHIBIT A

                         Certification of Henry J. Jaffe
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
John W. Weiss
PASHMAN STEIN WALDER HAYDEN, P.C.
101 Crawfords Corner Road, Suite 4202
Holmdel, NJ 07733
(201) 488-8200
jweiss@pashmanstein.com

Counsel for Your Home Goods, Inc.


In re:                                                            Chapter 11

THRASIO HOLDINGS, INC., et al.                                    Case No. 24-11840 (CMG)

         Debtors.1                                                (Jointly Administered)


                      CERTIFICATION OF HENRY J. JAFFE, ESQ.
              IN SUPPORT OF APPLICATION FOR ADMISSION PRO HAC VICE

         Henry J. Jaffe, of full age, does hereby certify as follows:

         1.      I am an attorney with the law firm of Pashman Stein Walder Hayden, P.C.

(“Pashman”).

         2.      I submit this Certification in support of application by Your Home Goods, Inc.

seeking to have me admitted pro hac vice in the above-captioned cases.

         3.      I am a member in good standing of the bars of the State of Delaware (admitted in

1991) and the Commonwealth of Pennsylvania (admitted in 1995). Further, I am a member in

good standing in, and am admitted to practice before, the United States District Court for the



1
  The last four digits of Debtor Thrasio Holdings, Inc.’s tax identification number are 8327. A complete list of the
Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
of the Debtors’ proposed claims and noticing agent at https://www.kccllc.net/Thrasio. The Debtors’ service address
in these chapter 11 cases is 85 West Street, 3rd Floor, Walpole, MA, 02081.
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District of Delaware (admitted in 1992); the United States District Court for the Eastern District

of Pennsylvania (admitted in 1995); and the United States District Court for the Middle District

of Pennsylvania (admitted in 2001).

          4.      I agree to associate in this matter with New Jersey counsel, John W. Weiss of

Pashman, or other Pashman attorney who is qualified to practice pursuant to Local Civil Rule

1:21-1.

          5.      No disciplinary proceedings are pending against me in any jurisdiction and no

discipline has previously been imposed on me in any jurisdiction.

          6.      I agree to:

               a. Abide by and all New Jersey disciplinary rules;

               b. Consent to the appointment of the Clerk of the Supreme Court as the agent upon
                  whom service may be made for all actions against me or my firm that may arise
                  out of my participation in this matter;

               c. Notify the Court immediately of any matters affecting my standing at the Bar of
                  any other Court;

               d. Have all pleadings, briefs and other papers filed with the Court signed by an
                  attorney of record authorized to practice in New Jersey; and

               e. Comply with Local Civil Rule 1:20-l(b), Local Civil Rule 1:28-2 and Local Civil
                  Rule 1:28B-l(e) during the period of my admission.

          7.      If admitted, I agree to pay such fees as shall have been prescribed by the Court.

          8.      I respectfully request that the Court grant the application of Your Home Goods,

Inc. seeking my admission pro hac vice in this matter.
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       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.


Date: March 12, 2024                                                   /s/ Henry J. Jaffe
                                                                       Henry J. Jaffe, Esq.
